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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               Case No. 22-cv-81539-MIDDLEBROOKS

  DANIEL LUGO,

         Plaintiff,

  V.

  KEY ENDEAVORS, LLC,

         Defendant.

  - - - - - - - - - - - - - - - - - - -I
                             ADA TITLE III SCHEDULING ORDER

         Pursuant to Federal Rule of Civil Procedure 16, the Court finds it necessary to issue a

  scheduling order tailored to the circumstances of this case, which has been brought under Title III

  of the Americans with Disabilities Act ("ADA"). Accordingly, to secure the just, speedy, and

  inexpensive determination of his case, consistent with Fed. R. Civ. P. 1, it is

         ORDERED that the provisions of Federal Rule of Civil Procedure 26( a)(l) and Local Rule

  16.1, which concern initial disclosures and the filing of a Conference Report and Joint Proposed

  Scheduling Order, are waived. Instead, the Parties must comply with the deadlines set forth below.

  These deadlines are not advisory and must be strictly followed. No extensions of time will be

  granted absent good cause.

         The Parties are advised that this Order does not affect the responsive pleading deadlines

  set forth in Federal Rule 12(a)(l)(A).




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       1. Plaintiff' must serve a copy of this Order on any Defendant who is served with process

          after the date of this Order.

       2. By October 18, 2022, Plaintiff must answer, under oath or penalty of perjury, a verified

          statement responding to the Court' s interrogatories, attached as Appendix A; serve a copy

          on Defendant and file the answers with the Court titled as "Answers to Court's

          Interrogatories."

       3. By November 1, 2022, Plaintiff must also provide Defendant a copy of a written report

          concerning any claimed ADA violations.

       4. By December 5, 2022, Defendant must serve Plaintiff with a written response including

          any existing report on which Defendant intends to rely (an expert report is not yet required).

          Defendant' s response must include Defendant's position on any claimed violations of the

          ADA.

       5. By January 5, 2023, the Parties must mediate this case before a mediator of their choice.

          If the Parties cannot agree on a mediator, the Court will appoint one.

       6. By January 12, 2023, the Parties must jointly file a status report that notifies the Court

          whether they have settled the case or reached an impasse.

       7. If the Parties settle at mediation, appropriate dismissal documents shall be submitted by

          January 19, 2023. The settlement agreement should contain, to the extent possible, an

          agreement on attorney ' s fees, including litigation expenses, and costs. If there is no

          agreement, the Court, at the Parties' request, will reserve jurisdiction to decide the issue of

          attorney's fees, expenses, and costs. Any request for attorney 's fees, expenses, and costs




   1
   If there is more than one plaintiff or defendant named in this case, the singular reference to
  plaintiff or defendant also includes the plural.
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         must be made in a separate motion or petition filed no later than fourteen (14) days after

         the entry of judgment. 2 Notably if the Parties wish the Court to enter a consent judgment,

         the Court will not approve or reserve jurisdiction to enforce a confidential settlement

         agreement.

      8. If the Parties settle at any time prior to mediation, counsel shall promptly inform the Court

         by calling the chambers of U.S. District Judge Donald M. Middlebrooks at ( 561) 514-3 720

         and, within 10 days of notification of settlement to the Court, submit appropriate dismissal

         documents, pursuant to Federal Rule of Civil Procedure 41(a). The Parties shall abide by

         all time requirements set by this Order unless and until an order of dismissal is docketed.

      9. If the Parties do not settle, they must IMMEDIATELY file a Conference Report and Joint

         Proposed Scheduling Order. S.D . Fla. L.R. 16.l(b). The Court may thereafter hold a

         Preliminary Pretrial Conference and will issue a Scheduling Order. The Court's goal is to

         set the case for trial at the earliest practicable time, but no later than six (6) months from

         the date of service of process on the first named Defendant.

      10. Until the Parties file the Case Management Report, all discovery in this case is STAYED,

         except as provided herein.

      11 . In the alternative to the foregoing procedures, this Court hereby advises the Parties of the

         opportunity to consent to the jurisdiction of the paired U.S. Magistrate Judge pursuant to

         28 U.S.C. § 636(c).     The paired U.S. Magistrate Judge generally allows parties great

         flexibility in setting the course, schedule, and trial date of their case. A fully executed

         consent form should be filed as soon as practicable if the Parties wish to consent to trial




  2
   In deciding entitlement to and any amount of attorney ' s fees , the Court advises that it will
  consider whether any pre-suit efforts were made to resolve the issues without filing suit.
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        before a U.S. Magistrate Judge.   A sample form is attached as Appendix B to this

        Scheduling Order.

     SIGNED in Chambers at West Palm Beach, Florida, this Z_ day of 0




                                                        United States District Judge




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                                           APPENDIX A

                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                       COURT'S INTERROGATORIES -ADA TITLE III

        1. Residence Address.

        2. Name of current employer and place of employment.

        3. Describe the nature of your disability.

        4. Date(s) and time(s) that you visited the subject property.

        5. Did anyone accompany you? If so, who?

        6. What is the proximity of the subject property to your home and/or place of
           employment?

        7. Describe your last patronage of the subject property.

        8. Describe the definiteness of your plans to return to the subject property.

        9. Specifically list each architectural barrier that you personally observed or experienced
           at the subject property. Alternatively, if the violations alleged in this suit pertain to a
           website associated with Defendant, specifically list each access barrier that you
           personally observed or experienced on the website.

        10. Did you take notes or make a contemporaneous record of these barriers? If so, attach
            a copy to these Answers.

        11 . What notice of deficiencies or other efforts did you make to resolve your complaints
             before filing suit?

        12. To what extent has counsel for Plaintiff conducted a search of case filings in the records
            of the Clerk of the United States District Court for the Southern District of Florida to
            ascertain whether or not Defendant or the property at issue has ever been sued prior to
            the filing of this suit, for alleged violations of the ADA?

        13 . If there has been a prior filing, counsel shall state whether or not Defendant (and/or
             property owned by Defendant and the subject-matter of this suit) has complied with
             any settlement in the prior litigation, and if not, what remains to be done under the prior
             litigation.



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                                             APPENDIX B

                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

           NOTICE OF RIGHT TO CONSENT TO DISPOSITION OF A CIVIL CASE
                          BY A U .S. MAGISTRATE JUDGE

         Counsel shall review this notice with their client(s) before executing their notice of consent

  to trial before a U.S. Magistrate Judge.

         Under 28 U. S.C. § 636(c), a U.S . Magistrate Judge may, upon the consent of all the parties

  in a civil case, conduct all proceedings, including a trial and all post-judgment proceedings. A

  consent form is attached and is also available from the Clerk of the Court.

         You have a right to trial by a U.S. District Judge. Your decision to consent to the referral

  of your case to a U.S. Magistrate Judge for disposition is entirely voluntary on your part; your

  lawyer cannot make this decision for you. You may, without adverse substantive consequences,

  withhold your consent, but this will prevent the Court' s jurisdiction from being exercised by a

  Magistrate Judge.    If any party withholds consent, the identity of the parties consenting or

  withholding consent will not be communicated to any Magistrate Judge or to the District Judge to

  whom the case has been assigned.

         Parties cannot withdraw their consent once given, although a District Judge may vacate a

  referral upon a showing of extraordinary circumstances by a party. An appeal from a judgment

  entered by a Magistrate Judge shall be taken directly to the U.S . Court of Appeals for this judicial

  circuit in the same manner as an appeal from any other judgment of this District Court.




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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                     Case No. [             ]-Civ-Middlebrooks

                                        ],

                 Plaintiff(s),

  V.

                                        ],

                 Defendant( s).
  _____________/
                           NOTICE OF CONSENT TO EXERCISE OF
                        JURISDICTION BY A U.S. MAGISTRATE JUDGE

          In accordance with the provisions of 28 U.S.C. § 636(c) and Federal Rule of Civil

  Procedure 73 , the parties in this case consent to have a U.S. Magistrate Judge conduct any and all

  proceedings in this case, the Parties consent to the exercise of jurisdiction by the Magistrate Judge

  over all further proceedings in this case, including trial and all post-judgment proceedings.

  Party                                 Signatures                                     Date




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